(1 of 3), Page 1 of 3               Case: 24-5852, 11/07/2024, DktEntry: 8.1, Page 1 of 3




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                                             RESHMA KAMATH
                                             W   W   W    M   Y I N STA LA W Y E R.C O M


       Via ACMS]9ling only
      November 07, 2024

       RESHMA KAMATH, CAL. BAR NO. 333800
       LAW OFFICE OF RESHMA KAMATH
       Appeal Counsel



              RE.°      FURTHER CUNTINUANCE REQUEST TO SUBMIT REPLY.



              Reshma Kamath is submitting a request forfurther continuance based on the fact that Reshma Kamath

       has had a medical emergency and is extremely sick to submit a coherent reply. A true and correct copy of the

      medical diagnosis and medicines preseribedfor the diarrhea and vomiting are attached in EXHIBITA and

       incorporated via reference herein. Reshma Kamath requests a ten-day continuance to hopefully resolve all

       health issues and draft an opposition to the Ninth Circuit's biased orders.



                 Sincerely,


                  9QJ
                RESHMA KAMATH, Appeal Counsel




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                                                     Law Office of Reshma Kamath
                                       700 E1 Camino Real Suite 120, #1084, Menlo Park, CA 94025
                                            (650)-257-0719, reshmakamath2021 @gmai1.com
(2 of 3), Page 2 of 3   Case: 24-5852, 11/07/2024, DktEntry: 8.1, Page 2 of 3




                            EXHIBIT A
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